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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 NATIONAL ASSOCIATION FOR GUN RIGHTS, and                      )
 SUSAN KAREN GOLDMAN,                                          )
                                                               )
         Plaintiffs,                                           )     Case No. 22-cv-04774
                                                               )
 v.                                                            )
                                                               )
                                                               )
 CITY OF HIGHLAND PARK, ILLINOIS,
                                                               )
                                                               )
         Defendant.


                       DECLARATION OF SUSAN KAREN GOLDMAN

        I, Susan Karen Goldman, state the following under oath as if testifying in court:

1.      I am a resident of the City of Highland Park, Illinois and have been since 1995.

2.      I am a law-abiding citizen of the United States.

3.      I currently own an AR-15, semi-automatic firearm, and intend to purchase magazines

capable of holding more than 10 rounds of ammunition—both of which are putatively made illegal

by Highland Park Code Chapter 136.

4.      I have possessed this property lawfully for years but I store it outside of the city limits

because I fear prosecution under the Ordinance.

5.      I desire to continue possessing my lawfully owned firearm and ammunition described

above, and to acquire additional arms and ammunition putatively made illegal by the Code, and

lawfully transfer property to others within the city limits.




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6.     But for the City’s restrictions on commonly used arms, and my reasonable fear of criminal

prosecution for violating these restrictions, I would continue to possess my lawfully owned firearm

and ammunition, acquire additional arms and ammunition, and/or transfer them to others.

7.     I am especially irreparably harmed because the City’s prohibitions require me to store my

firearm outside the city limits, which renders it useless for the defense of my home and my person,

especially in light of incidents such as the recent July 4, 2022 shooting which occurred within city

limits leaving seven (7) dead and more than two (2) dozen injured.

8.     Further Declarant sayeth naught.

       I, Susan Karen Goldman, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury

that I have reviewed the foregoing, that I am competent to testify in this matter, and that the facts

contained therein are true and correct.

___s/Susan Karen Goldman____                                         ____9/29/2022___________
Susan Karen Goldman                                                  Date




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